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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
ADRIANNA FLAGG,
Plaintiff,
vs. CASE NO.:
WALGREEN CO., a foreign corporation,
d/b/a WALGREENS,
Defendant.

 

DEFENDANT, WALGREEN CO.'S, NOTICE OF REMOVAL

To: The Judges of the United States District Court
for the Middle District of Florida
Orlando Division
U.S. Courthouse
401 West Central Boulevard
Suite 1200
Orlando, Florida 32801-0120

Pursuant to the provisions of 28 U.S.C.A. §§ 1332, 1441 and 1446, Defendant,
WALGREEN CO., hereby removes to this Court the action filed against it in the Circuit Court of
the Eighteenth Judicial Circuit, in and for Brevard County, Florida, and as grounds for the
removal of this action to the United States District Court for the Middle District of Florida,
Orlando Division, this Defendant states as follows:

1. There is presently pending in the Circuit Court of the Eighteenth Judicial Circuit,
in and for Brevard County, Florida, the following styled action: ADRIANNA FLAGG, Plaintiff,
vs. WALGREEN CO., a foreign corporation, d/b/a WALGREENS, Defendant, bearing Case

No.: 05-2020-CA-051886-XXXX-XX,
 

 

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2. That on or about December 8, 2020, the Plaintiff, ADRIANNA FLAGG, filed a
First Amended Complaint and demand for jury trial in the Circuit Court of the Eighteenth
Judicial Circuit, in and for Brevard County, Florida, a copy of which is attached hereto as
Exhibit 1. The Defendant, Walgreen Co.’s, Answer to Plaintiff's First Amended Complaint, and
Demand for Jury Trial is attached hereto as Exhibit 2. The Brevard County Clerk of Court’s
Register of Actions for Case No. 05-2020-CA-051886-XXXX-XX is attached hereto as
Exhibit 3. All Other State Court Documents are attached hereto as Composite Exhibit 4. The
Civil Cover Sheet for this Court is attached hereto as Exhibit 5. Said documents are attached to
this Notice as required by U.S.C. §1446(a).

3. The First Amended Complaint was served on Walgreen Co. on December 18,
2020. This Removal is being effected within thirty (30) days after service of the First Amended
Complaint. See 28 U.S.C. §1446(b). Defendant has not waived its right to remove.

4, That this Notice of Removal is founded upon diversity of citizenship jurisdiction
pursuant to 28 U.S.C.A., Section 1332 and 28 U.S.C.A. Section 1441. The matter is between
citizens of different states and the amount in controversy, excluding interest and costs, exceeds
the sum or value of Seventy-Five Thousand Dollars ($75,000).

5. That at all times material hereto, the Plaintiff in the above-styled action is a
citizen of the State of Florida residing at 281 Ulster Lane, Melbourne, Brevard County, Florida.
The Plaintiff has been an active registered Florida voter since 5/16/2006 (see Florida Voter
Registration record attached as Exhibit 6), As noted in the style of the Plaintiffs First Amended
Complaint, Walgreen Co. is “a foreign corporation”. For purposes of diversity, the single
Defendant has its citizenship in states other than the State of Florida. The Defendant, Walgreen

Company, is incorporated in the State of Illinois. The Defendant's, Walgreen Company,
 

 

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principal place of business is 300 Wilmot Road, Deerfield, Illinois 60015. There is complete
diversity of citizenship between the Defendant and the Plaintiff.

6. This case is properly removable under 28 U.S.C. §1441(a) since the Court has
subject matter jurisdiction under Section 1332(a)(1). The First Amended Complaint was served on
Walgreen Co. on December 18, 2020. The amount in controversy in the First Amended
Complaint is not specified, other than claiming “This is an action for damages that exceed Thirty
Thousand Dollars ($30,000.00) exclusive of attorney's fees, costs and interest. “. The Plaintiff's
First Amended Complaint also states “As a direct and proximate result of the aforesaid
negligence of the Defendant, WALGREENS, the Plaintiff was severely, significantly and
permanently injured within a reasonable degree of medical probability, and has been
permanently and significantly scarred and/or disfigured; has incurred a significant and permanent
loss of bodily functions; and/or has sustained a significant and permanent aggravation of a pre-
existing injury. As a further direct and proximate result of Defendant, WALGREENS'
negligence, the Plaintiff suffered extreme pain and suffering, disability, physical impairment,
mental anguish, inconvenience, and loss of capacity for the enjoyment of life, lost earning
capacity, and will so suffer in the future. The Plaintiff has in the past and will in the future be
obligated to pay large sums of money for doctors’ bills, hospital bills and other directly and
indirectly related expenses in an effort to alleviate her suffering and cure her injuries. The
Plaintiff has in the past and will in the future suffer lost wages as a result of her injuries. The
Plaintiff has in the past and will in the future be unable to lead and enjoy a normal life as the
result of the injuries. All of the Plaintiffs losses are either permanent or continuing in nature and
the Plaintiff will suffer these losses in the future.”.

The Plaintiff served the Defendant with a detailed $400,000.00 Demand Letter dated

October 27, 2020 (see Exhibit 7 attached), which states the Plaintiff is claiming the subject fall
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caused the Plaintiff to undergo lumbar surgery, and is claiming in excess of $80,438.91 in past
medical bills.

Accordingly, the damages sought by Plaintiff are clearly in excess of the $75,000.00
jurisdictional requirement of this Court, and to the best of this Defendant’s knowledge, the
requisite jurisdictional amount, as provided by 28 U.S.C.A. Section 1441, et seq., and 28
U.S.C.A. 1332, has been met.

7. That venue properly rests with the Middle District of the United States District
Court, Orlando Division because this action is being removed from the Circuit Court, Eighteenth
Judicial Circuit, in and for Brevard County, Florida.

8. This Defendant has filed with the Clerk of Circuit Court, Eighteenth Judicial
Circuit, in and for Brevard County, Florida, a true and correct copy of this Notice of Removal
pursuant to 28 U.S.C.A. 1446(e). See Exhibit 8 attached.

9, That the undersigned attorney is authorized by Defendant, Walgreen Co., to file
this Notice of Removal.

10. That the undersigned attorney is licensed in the State of Florida and is authorized
to practice in the United States District Court, Middle District of Florida.

WHEREFORE, Defendant, Walgreen Co., respectfully requests that this Court assume

jurisdiction of this action pursuant to 28 U.S.C.A. §§1332 and 1441.

Respectfyly submitted, OC

JAMES A. COLEMAN, ESQUIRE
James A. Coleman, P.A.

Florida Bar No.: 0434711

612 East Colonial Drive, Suite 250
Orlando, Florida 32803

Dated this 12th day of January, 2021.

 
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Telephone: (407) 219-5799

Facsimile: (407) 219-5788

Trial Counsel for Defendant,

Walgreen Co.

Emails: jcoleman@rclawpa.com
rcunningham@rclawpa.com
dthompson@rclawpa.com

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on January 12, 2021, I presented the foregoing to the Clerk of
the Court for filing and uploading to the CM/ECF system, which will send a notice of electronic

filing to the following: Joe M. Mitchell, III, Esquire, The Mitchell Law Firm, P.A., 134 5"

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JAMES A. COLEMAN, ESQUIRE

James A. Coleman, P.A.

Florida Bar No.: 0434711

612 East Colonial Drive, Suite 250

Orlando, Florida 32803

Telephone: (407) 219-5799

Facsimile: (407) 219-5788

Trial Counsel for Defendant,

Walgreen Co.

Emails: jcoleman@rclawpa.com
rcunningham@rclawpa.com
dthompson@rclawpa.com

Avenue, Suite 103, Indialantic, FL 32903.

 
